Case No: 1:19cv543
                Case 1:19-cv-00543-LY Document 8 Filed 07/11/19 Page 1 of 1                                               Filed: 07/11/19
                                                                                                                                  Doc. #7
  AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                          WesternDistrict
                                                      __________  Districtofof__________
                                                                               Texas


                         Jonathan Nunez                                  )
                                                                         )
                                                                         )
                                                                         )
                              Plaintiff(s)                               )
                                                                         )
                                  v.                                             Civil Action No. 19-00543-LY
                                                                         )
                      The Bureaus Inc. &                                 )
                 Liberty Mutual Insurance Co.                            )
                                                                         )
                                                                         )
                             Defendant(s)                                )

                                                      SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address) The Bureaus, Inc.
                                             c/o Aristotle Sangalang
                                             650 Dundee Rd.
                                             Ste. 370
                                             Northbrook, IL 60062



            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are: Tyler Hickle
                                             4005C Banister Ln
                                             Ste. 120C
                                             Austin, TX 78704



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


  Date:      7/11/2019
                                                                                             Signature of Clerk or Deputy Clerk
